                Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 1 of 27
                                                                                         ELECTRONICALLY FILED
                                                                                           2013-Jul-17 16:03:32
                                                                                              60CV-13-2843


                 IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS


GLEN NEWBY                                                                                PLAINTIFF


v.                                       CASE N O . - - - -


NATIONAL UNION FIRE INSURANCE COMPANY;
LOTS SOLUTIONS; and
AIG PROPERTY CASUALTY                                                                 DEFENDANTS


                COMPLAINT FOR BREACH OF CONTRACT AND BAD FAITH

           Comes now Glen Newby (hereinafter "Plaintiff'), by and through his attorneys, Rose

Law Finn, a Professional Association, and for his Complaint against Defendants National Union

Fire Insurance Company, Lots Solutions, and AIG Property Casualty (hereinafter "Defendants"),

states as follows:

           1.     Plaintiff is a resident of Pulaski County, Arkansas.

       2.         Defendant National Union Fire Insurance Company is a corporation with its

principal place of business in Pennsylvania.

       3.         Defendant Lots Solutions is a corporation with is principal place of business in

Florida.

       4.         Defendant AIG Property Casualty is a corporation with its principal place of

business in New York.

       5.         This Court has jurisdiction over the parties and subject matter of this action

pursuant to Ark. Code Ann.§§ 16-13-201 and 16-58-120.



                                                                                           EXHIBIT

                                                                                     I       A
              Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 2 of 27




                                          A. Factual Allegations

        6.      Plaintiff entered into an insurance contract (hereinafter ''the Policy") with

Defendant National Union Fire Insurance Company, effective May 18, 2011. A copy of the

Policy is attached hereto as Exhibit 1.

        7.      The Policy contained a Total Temporary Disability Accident Benefit that covered

accidents rendering a person totally temporarily disabled within ninety (90) days after the

accident. This is defined as an accident that "prevents an Insured Person from performing the

material and substantial duties of his or her own occupation." Exhibit 1 at 6.

        8.      On June 19, 2012, Plaintiff suffered an accident while moving his motorcycle that

resulted in Plaintiff's sciatic nerve becoming pinched and causing severe pain to Plaintiff's right

side.

        9.      Plaintiff submitted a claim under the policy on or around September 26, 2012, for

Temporary Total Disability. See Temporary Total Disability Accident Claim Form, attached

hereto as Exhibit 2.

        10.     Plaintiff also submitted an Attending Physician's Statement concerning the

accident, which was dated October 6, 2012. See Attending Physician's Statement, attached

hereto as Exhibit 3. It states that the Plaintiff has never had this injury before and further states

that the Plaintiff is totally disabled.

        11.     LOTSolutions, the program administrator for the policy, first denied benefits to

Plaintiff under the policy because "disability is not due to dismemberment or paralysis based on

the attending physician's statement." See Letter from LOTSolutions dated November 5, 2012,

attached hereto as Exhibit 4.
              Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 3 of 27




        12.     LOTSolutions next denied benefits to Plaintiff under the policy because "you

were not enrolled in the policy at the date of your loss, 9/25/09. Notes received indicate ongoing

treatment for this diagnosis." See Letter from LOTSolutions dated December 11,2012, attached

hereto as Exhibit 5.

        13.     Plaintiff eventually required surgery for this injury. The surgery occurred in

February of2013.

       14.      PlaintifPs surgery alleviated the pain to PlaintifPs right side but instigated a new,

never-before-present disabling pain to PlaintifPs left side. PlaintifPs medical provider has stated

that this was a new injury. See Attending Physician's Statement, attached hereto as Exhibit 6. In

addition, the attending physician has stated that Mr. Newby has been unable to perform any work

since the date of the surgery in February 7, 2013. See Progress Notes, attached hereto as Exhibit

7.

       15.      Plaintiff submitted another claim form to the insurer on or around April 17, 2013.

See Temporary Total Disability Accident Claim Form, attached hereto as Exhibit 8.

       16.      As a result of the injury, Plaintiff has been unable to perform the material duties

of his occupation at De Wafelbakkers.

       17.      Plaintiff submitted an appeal of these denials on January 11, 2013.

       18.      After Plaintiff filed a complaint with the Arkansas Attorney General's Office,

Plaintiff received a copy of a letter from Defendant AIG Property Casualty to the Attorney

General's Office dated March 13, 2013, stating that Lots Solutions "was currently reviewing" the

matter. See Letter dated Mar. 13, 2013, attached hereto as Exhibit 9.
              Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 4 of 27




        19.     Plaintiff's counsel contacted AIG Property Casualty and LOTSolutions by letter

dated June 20, 2013, notifYing Defendants that Plaintiff intended to file this Complaint See

Letter dated June 20, 2013, attached hereto as Exhibit 10.

        20.     Plaintiff has still not received a decision on his appeal or a statement satisfactorily

justifYing the denial of his claim.

        21.     Plaintiffhas continued to pay his monthly premiums on the policy.

                               B.      Count 1: Breach of Contract

       22.       Plaintiffrealleges and incorporates Paragraphs 1·21 herein.

       23.      Plaintiff entered a contract with Defendant National Union Fire Insurance

Company, whereby, in exchange for Plaintiff's monthly premiums, Defendant would pay the

contractual benefit due for Plaintiff's rightful claims.

       24.      Plaintiff has paid his premiums each month.

       25.      Plaintiff's injury resulted in his temporary total disability as defined by the Policy

because the injury prevented Plaintiff from ''performing the material and substantial duties ofhis

or her own occupation."

       26.      Therefore, Plaintiff's claim for temporary total disability was proper.

        27.     Defendant's letter denying Plaintiff's claim, dated November 5, 2012, does not

include a valid reason for denying Plaintiff's claim.

        28.     Defendant's letter denied Plaintiff's claim because Plaintiff's disability

''is not due to dismemberment or paralysis."

        29.     There is no requirement in the Policy limiting temporary total disability claims to

those claims of dismemberment or paralysis.
              Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 5 of 27




        30.      Further, Defendant's letter denying Plaintiff's claim, dated December 11, 2012,

does not present a valid reason for denying Plaintiff's claim.

        31.      This letter stated that Plaintiff's claim was denied because his loss was incurred

on September 25,2009, and Plaintiff was receiving ongoing treatment for his diagnosis.

        32.      This is untrue.

       33.       Plaintiff's injury sustained on June 19,2012, constituted a new loss and accident

under the Policy.

       34.       Further, Plaintiff's injuries during surgery are attributable to his June 19, 2012,

accident. As noted in Plaintiff's physicians' report, Plaintiff did not have the condition that

resulted from the injurious surgery prior to surgery.

       35.       Defendant has refused to pay Plaintiff's rightful claims as required by contract.

       36.       Therefore, Defendant is in breach of contract in the amount of $4,200 per month

for the months that Defendant has been disabled, as set out in the Policy. Exhibit 1 at 5.

       37.       Further, Plaintiff seeks attorneys fees and costs pursuant to Arkansas Code Ann.

§ 16-22-308.

       3 8.      Plaintiff also seeks prejudgment interest because the amount of debt is easily

ascertainable.

                                   C.   Count 2: Tort of Bad Faith

       39.       Plaintiffrealleges and incorporates Paragraphs 1-38 herein.

       40.       Plaintiff has properly paid his premiums due under the Policy.

       41.       Defendant has maliciously refused to pay under the Policy without good defense.

       42.       Plaintiff has been told by two employees of Defendant Lots Solutions that the

company has a systemic practice of denying claims until an insured ceases to pay his premiums,
             Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 6 of 27




thus wrongfully letting the company off the hook for its contractual obligation to pay. See

Affidavit of Glen Newby, attached as Exhibit 11.

       43.     Accordingly, Plaintiff seeks attorneys fees, the amount ofthe policy benefit, plus

twelve (12) percent of that loss pursuant to Ark. Code Ann. § 23-79-208.

       44.     Plaintiff requests a trial by jury.

       WHEREFORE, Plaintiff respectfully requests entry of judgment, money damages,

prejudgment interest, and attorneys fees, and all other relief that justice so requires.


                                                Respectfully submitted,

                                                ROSE LAW FIRM,
                                                A PROFESSIONAL ASSOCIATION
                                                120 East Fourth Street
                                                Little Rock, Arkansas 72201
                                                Telephone: (501) 375-9131
                                                Facsimile: (501) 375-1309
                                                kperkins@roselawfum.com
            Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 7 of 27



   National Union F'u:e Insurance Company of Pittsburgh, Pa.
   Program Administrative Office
   POBox44260
   Jacbonvllle,PL32231                                   Cbf»j
                                                                               i             r
                                                                                              /)~
                                                                                                 1                                             -

   Glen D. Newby                                                                              Re: Customer No. 51646840
   717 Silver Hill Rd                                                                                Effective Date: 05/1812011
   N Little Rock, AR               72118-2655




 Dear Glen D. Newby.

Congratulations( You made a smart decision to enroll in this insurance plan underwritten by
National Union Fll'C Insurance Company of Pittsburgh, Pa. Your coverage will take effect on the
effective date shown above and on your insurance documents.
Please take the time to review and familiarize yourself with the information National Union has
included in this enrollment package. As you review the packet, please do the following:
     •    Verify that }'our name and address arc coaect
    --•   Confirm the aocuracy..of.theJnfonnationincluded oJLthe.benefit.schedule.
     •    Review the exclllSiou and limitations included in the insurance documents
Thank you for choosing National Union. If you have any questions about your new coverage or your
billing, please call National Union at 888-449-4544 weekdays between 7 a.m. to 10 p.m. Eastern Time
and 7 a.m. to 3 p.m. Eastern Time on Saturday. We appreciate the opportunity to provide you with this
valuable coverage and we look forward to serving you.
Sincerely,



                                                                                                                                   EXHIBIT
Jqnathan Yee
Seinor Vice President of Consumer Marketing
Domestic Accident & Health Division
                                                                                                                           i            I
 This AcddolllJasuraoccOowrap ilmdtiitWiilte& by MdoDal Utlioa Hre liiiiii8IICC Colapan)'of~ fL. with ilspriuclpll place ofbuinon II
   New YOlk. NY. losUIII1cc pmducta lll'C NOTiasuredby thoP.D.J.C., am DOt deposifl of 1111 otncr govaum811l11PC7, ue 1Hll deposits orollu:r
                    obllpaiou orllllJ baJr. 8lld ere DOt plllllleed by ID'1 bank.                       aJ04JII7 OBH1
           Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 8 of 27


       NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA.
                                           Executive Offices: New York, NY
                             {a capital stock companv, herein referred to es the Company)
                                 Administrator: PO Box 44260 Jacksonville, Fl32231


  Por:ICYfJolder: U.S. Bancorp
  Policy Nt111ber: 9541790
                                                                                     .      ~   i   .



                             GROUP ACCIDENT INSURANCE CERnFICATE

  ABOUT THIS CERTIFICATE. This certificate describes accident Insurance the Compariy provides to
  Insured Persons under the Group Polley
                                  .
                                         (herein called the Polley)
                                                                . .
                                                                             w
                                                                    Issued. - the
                                                                               .
                                                                               ;
                                                                                  Policyholder.
                                                                                   . .   . .    .

 RIGHT TO EXAMINE THIS CERnFICATE. This certHJ~re ;of Insurance is Issued to You, the fn&Ured,
 and can be returned for any reason within the later of: (1) 30 days after It Is received by You; or (2) 30
 days after Your Coverage Effective Date. The certificate should be returned by maD or fn person to the
 Company. Any premium paid will be refunded and the certificate will be treated as If It were never
 Issued.                                                                                   ....
 The President and Secretary of Naflonal Union Fire lnsuranqe.Companyof        Plitsburgh: ·Pa. Witn&Ss this
 Certificate:                                                   ··                      ·
                                                                                   ·'




                         President                                      Secretary


                          PLEASE READ THIS CEADFIQATE ((AREFULLY.

   THIS CERTIFICATE IS NOT A MEDICARE SUPPLEMENT CONTRACT. If you are.eflglble for
  Medicare, review the Guide to Health Insurance for People with Medicare available from this
                                               Company.




A30298NUFIC - AR                                                                                        240 DM-AP
               Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 9 of 27


                                                     SCHEDULE

   CLASSIFICATION OF ELIGIBLE PERSONS:
  Class 1          All Accountholders of U.S. Bancorp
  Class2           Eligible Spouses of Class 1 Insureds

  INSURED: Glen D. Newby

  CUSTOMER NUMBER: 51646840

  COVERAGE EFFECTIVE DATE: 0511812011
  PREMIUM PAYMENTS;
  Monthly Premium: $29.95

 COVERED ACTIVITIES:
   • 24 Hour Coverage

 BENEm SCHEDULE:

 Benefit                                                                     Maximum Amount
                                                                   Primary Insured      Insured Spouse
 Accidental Dismemberment Benefit                                      $1,000                $250

 Total Temporary DfsabiQty Accident Benefit                            $4,200               $1,050
  EDmlnation Period: 3 consecutive mon1hs
  Maximum Number of Months Payable: 24

 Physician's Office VIsit lndemnHy Benefit
  Beneftt~untPer~                                                      $25.00               $25.00
  Famllv Maximum Number of VISits Per Calendar Quarter: 1
  Lifetime FaniiY Maximum Number of VIsits: 20

The Maxfmurn Amounts are used to determine amounts payable under each Benefit. Actual amounts
papble wUI not exceed the maximums, and may be less than the maximums under circumstances
specified in lhls Cerllftcate.

The Maximum Amounts specified above for an Insured Person who Is age 70 or older on the date of an
accident for which benefits are payable, except the Physician's Office VIsits Indemnity Benefit, will be
reduced by 50%.




A30298NUFIC - AR                                          3                             24QDM-AP
                  Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 10 of 27

                                                              PhysiCian - means a &censed practitioner of the
                                                              healing arts acting within the scope of his or her
Any capitalized terms in this Certificate and any             &cense who is not 1) the Insured Person; 2) an
riders, endorsements, or other attached papers are            Immediate Family Member; or 3) retained ·by the
to be given the meanings as ascrbed in thfs section           Policyholder.
or as later defined.
                                                             You, Your- means the Insured.
•    - means the age of the Insured Person on the
Insured Person's most recent birthday, regardless of            INSURED"& EFFEC11VE AND TERMINATION
the actual time of birth.                                                      DATES

Covered Acllvlty (las) - means those activities set          Effective Date. Your coverage under the Policy
out in the Covered Activities section of the Schedule        begins on the latest of: (1) the Policy Effective Date;
with respect to which Insured Persons are provided           (2) the date for which the first premium for Your
aooident insurance under the Policy.                         coverage Is paid when due; (3) the date You
                                                             become a member of an eligible class of persons as
Eligible Spouse- means Your legal spouse.                    described in the Classification of EBgible Persons
                                                             section of the Schedule; (4) H individual enrollment is
Eligible Dependent - means an Eligible Spouse.               required, the date written enrollment is received; or
                                                             (5} the Coverage Effective Date shown In the
Immediate Family Member - means a person who                 Schedule.
is related to the Insured Person in any of the
following ways: spouse, brother-in-law, sister-in-law,       Termination Date. Your coverage under the Policy
son-in-law,      daughter-in-law,      mother-in-law,        ends on the eariest of: ( 1) the date the PoUcy is
father-in-law,    parent     (includes    stepparent),       terminated (unless the Company and the
grandparent, brother or sister (includes stepbrother         Policyholder agree, in writing, to permit coverage to
or stepsister), or child (includes legally adopted or        continue to the end of the period for which premiums
stepchild).                                                  have been paid in lieu of a retum of unearned
                                                             premiums); (2} the premium due date if premiums
Injury - means bodily injury: (1) which is sustained         are not paid when due; (3) the date You cease to be
as a direct result of an unintended, unanticipated           a member of any efagible class(es} of persons, as
accident that is extemal to the body and that occurs         described in the Classification of EUgible Persons
while the injured person's coverage under the Policy         section of the Schedule; (4) the date You request, in
is in force; (2) which directly (independent of              writing, that Your coverage be tenninated; or (5) the
sickness, disease, mental incapacity, bodily infirmity       date You attain Age 75.
or any other cause) causes a covered loss.
                                                             T ennlnation of coverage will not affect a claim for a
lnsurwd- means a person: (1} who is a member of              covered loss that occurred while Your covsrage was
an eligible class of persons as described in the             In force under the Policy.
Classification of Eligible Persons section of the
Schedule; (2) for whom premium has been paid                    INSURED DEPENDENT'S EFFECTIVE AND
when due; (3) while covered under the Policy; and                          TERMINATION DATES
(4) who has enrolled for coverage under the Po6cy, if
required. However, an Insured does not include any       Effecllve Date. Your Eligible Dependent's coverage
person covered under the Policy solely as an             under the Poley begins on the latest of: (1) the date
Insured Dependent                                        Your coverage under the PoUcy begins, (2) the date
                                                         the first premium for the ERgible Dependent's
Insured Dependent- means Your Insured Spouse.            coverage is paid· when due; (3) the date the person
                                                         becomes an Eligible Dependent; or 4) H individual
Insured Person - means the Insured or an Insured         enrollment is required, the date Your written
Dependent                                                enrollment is recetved.

lnsurwd Spouse - means Your Eligible Spouse; (1)         Termination Date.        An Insured Dependent's
whom You have elected to cover under the PoHcy;          coverage under the Policy ends on the ear&est of:
(2) for whom premium has been paid when due; and         (1) the date Your coverage under the Policy ends;
(3) while covered under the Pofrcy.                      (2) the premium due date H premiums for the
                                                         Insured Dependent are not paid when due; (3) the
                                                         date You request, in writing, that coverage for the
                                                         Insured Dependent be terminated; (4) the date the
A30298NUFIC - AR                                         4                                        240DM-AP
              Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 11 of 27


   Insured Dependent ceases to meet the definition of          Accidental Dismemberment Benefit Maximum
   an Eligible Dependent; or (5) the date the Insured          Amount shown In the Benefit Schedule for that Loss:
   Dependent attains Age 75.
                                                               For Loss of                   f§rcentage of Maximum
   Termination of coverage will not affect a cfalm for a                                                       Amount
   covered loss that occurred while the Insured               Both Hands or Both Feet............................. 100%
   Dependent's coverage was in force under the Policy.        Sight of Both Eyes.....................................100%
                                                              One Hand and One Foot. ............................100%
                        PREMIUM                               One Hand and the Sight of One Eye..............100%
                                                              One Foot and the Sight of One Eye...............100%
   Premiums. The Company provides insurance In                One Hand or One Foot. ....................... ~ ........ SO%
  return for premium payments. The premium shown              The Sight of One Eye...................................50%
  In the Schedule Is payable to the Company in the
  manner des«ibed In the Schedule. The Company                "Loss• of a hand or foot means complete severance
  may change the requiAKI premiums due by giving              through or above the wrist or ankle joint. 1.oss• of
  the Policyholder at least 31 days advance written           sight of an eye means total and Irrecoverable loss of
  notice. The Company may also change the required            the entire sight In that 9)'8.
  premiums at any time when any coverage change
  affecting premiums Is made in the Poley.                    If more than one Loss Is sustained by an lnSli"EJd
                                                              Person as a result of the same accident. only one
   Grace Period. A Grace Period of 31 days wiH be             amount, the ~Uill.be-QIIft.-----
   provided for the payment of any premium due after
   the ftrst. An Insured Person's coverage wll not be            Total Temporary DlaabUity Accident Benefit
  terminated for nonpayment of premium dtling the
  Grace Period if aD premiums due are pafd by the last         If, as a result of an Injury, an Insured Person is
  day of the Grace Period. An Insured Person's                 rendered Temporarily Totally Disabled within 90
  coverage 'WID terminate on the last day of the period        days of the dale of the accident that caused the
 .for which all premiums have been paid if all                 Injury, and If the Temporary Total Dlsabilty due to
  premiums due are not paid by the last day of the             that Injury continues throughout the Elimination
 Grace Period.                                                 Period as shown In the Benefit Schedule, the
                                                               Company will pay a monthly benefit beginning In the
 If the Company expressly agrees to accept late                month fol~rthe Eimlnation Period. The monthly
 payment of a premium without terminating coverage            benefit Is uquw to 100% of the Total Temporary
 under the Policy, the Company does so In                     Dlsabflty Accident Maximum Amount as shown in
 accordance with the NoncompUance with Policy                 the Benefit Schedule. The Benefit Is pay&ble as
 Requirements provision of the General Provisions             long as the Insured Person remains continuously
 section.                                                    Temporarily Totally Disabled due to that Injury, but
                                                             ceases on the earUest of: (1) the date the Insured
No Grace Period \111111 be provided if the Company           Person ceases to be Temporarily Totally Disabled
receives notice to terminate the Insured Person's            due to that Injury: (2) the date the Insured Person
coverage under the Poley prior to a premium due              dies; or (3) the date this Benefit has been paid for
date.                                                        the Maximum Number of Months Payable as shown
                                                             In the Benefit Schedule. The Company will pay
                      BENEFITS                              benefits calculated at a rata of 1/301h of the monthly
                                                            benefit for each day for which the Company Is rl8ble
MaXImum Amount. As applicable to each Benefit               when the Insured Person Is Temporarfly Totally
provided by the Polley for each Insured Person,             Disabled for less than a fuU month. Only one benefit
Maximum Amount means the amount shown as the                is provided for any one month of Temporary Total
                                                            Dlsablity, regardless of the number of Injuries
maximum amount for that Benefit for the ·Insured
Person's class in the Benefit Schedule, subject to          causing the Temporary Total Dlsabllty or the
the Reduction Schedule shown in the Umftafions              number of losses incurred.
section.                                                          aflt Offsets. The Total Temporary Dlsabilty
        Accidental Dismemberment BenefH                       Benefit will be reduced by amounts paid to an
                                                             Insured Person, due to the same Temporary Total
H Injury to the Insured Person results, within 90 days        Dlsablftty, under any of the following: other group
of the date of the accident that caused the InJury, In       insurance plans; salary continuance, accumulated
any one of the Losses specified below, the Company           sick leave; wage benefits under Workers'
will pay the percentage shown below of the                  Compensation and similar laws; state statutory
                                                            disablfity benefit laws.
A30298NUFIC - AR                                           5
                 Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 12 of 27
'                                                                                                                    i
                                                                                                                     i
 Reduction.      The Reduction Schedule in the                The Sickness exclusions in the Exclusions section of   ;
                                                                                                                      i
 Umitations section of the Certificate is applicable to       the Certificate or as amended shaft not apply with
 this Benefit.                                                respect to benefits payable under the Physician's
                                                              Office Visits Indemnity Benefit.
 Recummt Disability.         Recurrent periods of
 Temporary Total Disability, due to the same or a             A30298NUAG-AA POV
 related Injury, wiH be considered one period of
Temporary Tota1 Disability if separated by less 1han                             UMITATIONS
 180 consecutive days of: (1) return to any· full time
work, if an occupational definition of Temporary              Reduction Schedule. The Maximum Amount used
Tota1 Disabi&ty appf18S; or (2) performing the usual
actiVities of a person of Ike age and sex whose
                                                              to determine the amount payable for a loss will be
                                                              reduced if an Insured Person is age 70 or older on
heallh is comparable to that of the Insured Person            the date of the ·accident causing the loss with
immediately prior to the accident, if an occupational         respect to any of the following Benefits provided by
definition of Temponuy Total Dlsabt1ty dOes not               the Policy: Accidental Dismemberment Benefit,
apply.
                                                              Total Temporary Disability Accident Benefit. The
Tennlnallon Date. Coverage under this Benefit                 Maximum Amount Is reduced to a percentage Of the
ends on the date the Insured Person attains age 75.           Maximum Amount that would be used if the Insured
                                                              Person were under age 70 on the date of the
Definitions                                                   accident, according to the following schedule:
Bimlnatlon Period - as used in this Benefit means
the period of consecutive months of Temporary                 AGE ON DATE       . PERCENTAGE OF UNDER-
Total Disability for which no benefit is payable. It          OF ACCIDENT         AGE~70   MAXIMUM AMOUNT
begins on the first day of Temporary Total Disability.
                                                              70 and older                 50%
Temporarily To1aly DlsablediTempo.-.y Total
Disability • as. used in this Benefit means: {1)              Premium for an Insured Person age 70 or older is
disability that prevents an Insured Person from               based on 100% of the coverage that would be In
performing the material and substantial duties of his         effect if the Insured Person were under age 70.
or her own occupation. However, with respect to an
Insured Person for whom an occupational definition                              EXCLUSIONS
of Temporarily TotaHy Disabled/Temporary Total
Disabifity is AOt appropriate, Temporarily Totally        No coverage shall be provided under the PoUcy and
Disabled means that the Insured Person is                 no payment shall be made for any loss resulting in
temporarily unable to engage in any of the usual          whole or in part from, or contribut8d to by, or as a
activities of a ·parson of like age and sex whose         natural and probable consequence of any of the
health is comparable _to that of the lns~red Person       following excluded risks even it the proximate or
immediately prior to the accident; and {2) requires       precipitating cause of the loss is an accidental bodily
that the Insured Person is under the supervision of a     Injury.
Physician unless the Insured Person has reached
his or her maximum point of recovery.                     1. suicide or any attempt at suicide or intentionally
                                                             self-inflicted Injury or any attempt at intentionally
A30298NUFIG-AR TTD                                           setf..jnflicted Injury or autoeroticism.
                                                          2. sickness, disease, mental incapacity or bodily
    ·Physician's Office VIsits Indemnity Benefit             Infirmity whether the loss results directly or
                                                             indirectly from any of these.
If the Insured Person visits a Physician's office tor     3. the lnst.ired Person's commission of or attempt
treatment while the Insured Person's coverage                to commit a felony.
under this Benefit is in force, the Company will pay a    4. infections of any kind regardless of how
benefit equal to the Per VISit Benefit shown in the          contracted, except bacterial Infections that are
Benefit Schedule, subject to the Maximum Number              directly caused by botuHsm, ptomaine poisoning
of Visits and the Maximum Benefit Amount shown in            or an accidental cut or wound independent and
the Benefit Schedule.        The Ufetlme Maximum             in the absenc_e of any underlying sickness,
Number of Visits is shown In the Benefit Schedule.           disease or cond"ltkm including but not timited to
                                                             diabetes.
Tenninatlon Date. Coverage under this Benefit             5. declared or undeclared war, or any act of
ends on the date the Ufetlme Maximum Number of               declared or undeclared war, except if specifically
Visits shown In the Benefit Schedule is met                  provided by the Policy.
                                                          6. full-time active duty in the armed forces,
A30298NUFIC - AA                                          6                                      240DM·AP
                 Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 13 of 27


         National Guard or organized reserve corps of                 occurrence, the character and the extent of the loss
        any country or International authority.                       tor which claim Is made. The notice should Include
        (Unearned premium for any period for which the                Your name, the Insured Person's name. If different.
        Insured Person is not covered due to his or her               the Policyholder's name and the Poley number.
        active duty status will be refunded) (Loss
        caused while on short-tem National Guard or                   Proof of Loss.      Written proof of loss must be
        res8IV8 duly for regularly scheduled trailing                 furnished to the Company within 90 days after the
        purposes Is not excluded).                                    date of the loss. If the loss Is one for which the
 7.     travel or flight In or on (including getting in or out        Policy requires continuing ellglbllty for periodic
        of, or on or off of) any vehicle used for aerial              benefit payments. subsequent written proofs of
        navigation, If the Insured Person Is;                         eliglbllty must be fumlshed at such Intervals as the
             a. riding as a passenger In any Ucraft not               Company may reasonably require. Falure to fumlsh
                 intended or           licensed     for    the       proof within the time required nellher Invalidates nor
                 transportation of passengers: or                    reduces any claim If it was not reasonably possible
             b. performing, learning to perform or                   to give proof within such time, provided such proof Is
                 Instructing others to perform as a pilot            furnJshed as soon as reasonably possible and In no
                 or crew member of any aircraft; or                  event, except In the absence of legal capacity of the
            c. riding as a passenger in an aircraft                  claimant, later than one year from the time proof is
                 owned, leased or operated by the                    otherwise required.
                 Policyholder or the Insured's employer;
8.     the Insured Person being under the Influence of               Payment of Claims. Upon receipt of due wriHen
       intoxicants.                                                  proof of death, payment for loss of lfe of an Insured
9.     the Insured Person being under the Influence of               Person will be made to the Insured Person's
      drugs unless taken under the advice of and as                  beneficiary as c:lescrbKI In the applcable
      specified by a Physician.                                      Beneficiary Designation and Change provision.
10.    the medical or surgical treatment of sickness,
      disease, mental Incapacity or bodily infirmity                 Upon receipt of due written proof of loss, payments
      whether the bss results directly or Indirectly                 for all losses, except loss of lfe, will be made to (or
      from the treatment.                                            on behalf of, If applicable) the Insured Person
11.     stroke or cerebrovascular accident or event;                 suffering the loss. If an Insured Person dies before
      cardovascular accident or event: myocardial                    aU payments due have been made, the amount still
      infarction or heart attack; coronary thrombosis; ·             payable wiH be paid to his or her beneficiary as
      aneurysm.                                                      described In the applicable Beneficiary Designation
                                                                     and Change provision.
12. the Insured Person riding in or drMng any type
    of motor vehicla as part of a speed contest or                   H any payee is a minor or Is not competent to give a
    scheduled race, Including testing such vehicle                   valid release for the payment, the payment wiB be
    on a track, speedway or proving ground.                          made to the legal guardian of the payee's property.
13. any loss lnct.rred whRe outside the United                       If the payee has no legal guardan for his or her
    States, Its Territories or Canada.                               property, a payment not exceeding $1.000 may be
                                                                     made, at the Company's option, to any relative by
                 CLAIMS PROVISIONS                                   blood or connection by marriage of the payee, who,
                                                                     in the Company's opinion, has assumed the custody
Notice of Claim. Written notice of claim must be                     and support of the minor or responsibllty for the
given to the Company within 20 days after an                         Incompetent person's affairs.
Insured Person's loss, or as soon thereafter as
reasonably possible. Notice given by or on behalf of             Any payment the Company makes in good faith fully
the Insured Person to the Company at                             dscharges the Company's llablllty to the extent of
LOTSolutions, Claims Department, P. 0. Box 2066,                 the payment made.
Jacksonville, FL 32203-2066. with Information
sufficient to Identify the Insured Person. 1s deemed             Time of Payment of Claims. Benefits payable
notice to the Company.                                           under the Policy for any loss other than loss for
                                                                 which the Poley provides any periodic payment will
Claim Forms. The Company will send c1alm forms                   be paid immediately upon the Company's receipt of
to the claimant upon receipt of a written notice of              due written proof of the loss. Subject to the
claim. If such fonns are not sent within 15 days                 Company's receipt of due written proof of loss, all
after the giving of noUce. the claimant wiD be                   accrued benefits for loss for which the PoUcy
deemed to have met the proof of loss requirements                provides periodic payment will be paid at the
upon submitting, within the time fixed In the Polley             expiration of each month during the continuance of
for fiHng proofs of loss, wriHen proof covering the
A30298NUFIC - AR                                                 7                                        24QOM-AP
                Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 14 of 27


has misstated his or her age, there will be an
adjustment of said benefit based on his or her true
age. The Company may require saUsfactory proof of
age before paying any cfalm.

Noncompliance with Polley Requirements. Any
express waiver by the Company of any requirements
of the Polley wiD not constitute a continuing waiver of
such requirements. Any failure by the Company to
insist upon compliance with any Poley provision wiU
not operate as a waiver or amendment of that
provision.
Physical     Examination    and    Autopsy.       The
Company at Its own expense has the right and
opportunity to examine the person of any Individual
whose loss is the basis of claim under the PoUcy
when and as often as It may reasonably require
during the pendency of the claim and to make an
autopsy In case of death where It Is not forbidden by
law.
Workers• Compensation. The PoDcy Is not in leu
of and does not affect any requirements for
coverage by any Workers' Compensation Act or
similar law.




                                                          9            240DM-AP
A30298NUFIC - AR
                        Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 15 of 27

         N.atlonai·Unlon Fire Insurance Compa                        Jf              PROOF OF LOSS
        Pittsburgh, Pa.
        Claims Department                                                            NAME OF GROUP: U.S. Banoorp
        P.O.Box206&
        .Jackaonvllle, FL 32203                                                      POLICY NUMBER: &1648840
        866-8&0-0712




       (8)




 (7)




                                                                                                                                                                                  + ZoiZ
                                                                                                                   8   EF,



                                                                                     AU1IiOfiiil1IOH
group polcJhalcfat,lrlsurancltOIJmPIIIIY, asaodiiM, . , . , _ orbelleltptan adrillfltrlllli 10 l'unll8h Ill the ~named alxlweor                     lis,.........._,
 1.118 Uflll8ralgrllld auUiciCim uvy I1Diflllal or Giber IIIICical-carw fnllbfan, phy8lclerl 01 alhlr IIIICIIcld p!Gfetalonlt, pllamlaoJ, in8uiMce IUppad CIJIIIIIi2allan ~ agency,
                                                                                                                                                  lie.,._...._                any Md all
sk:fcnes8 orl0881sthe...,. ofdalll andcoplls ofal of lilt peiiCIIi8 holpilal or    ll*loef,_..,
lnbmalloft \IIIII! lwpect IOMJ'iltJIYOIIIclcnen IIUifelecl by, the JMdlc8l hiiiDI)' of, 01' any~ ~01 hRIIent pnwldecllD.
                                                                                                             ~ lrlformdal! ~to_,....._ Mdllll ddruge IIIII alCohol, to
delwmiM eiQHirfOibenell.,...,. underlle PolcyN!abtr ldeldllled-- llliiiiiDrfq Ulegraup~. employer OlbenlllpleRIIfmltdatraiDI ., piVIIIdlt lhe
                                                                                                                                                                          deldb, llfurY,

lrlsUrance Compllnyfwned abclw 1lflh inllndllend ~ lnlonnallan. llMdlftlland llallia 8lllhallallon flyallcJ 101118111111 of 011¥1119 of . . Paily lclenliled
alxw. and that •.COJII ofthlllllUJorlzallon thai! be CDI. . .elvald Mille originaL I Ulllfallllnd1hat I Of my aulllarized .................. Dr/ teqUIISI a COP1 of INs 8111bcJriz111111.

 For claimants not lesldlnQ In Callfomla. New Vork, or Pennsylvania: Any person who knoWingly J:II'8S9I* a false or f1audul9nl claim for payment cl a lOss or
 benefit or knowingly JJ1888nls lalselnformallon in an application for lnsunlnce 18 guilty of a crime and~ be aubjeot to tine$ and COf'llinelnent tn priSon.
                             ,.
                                                                                                                                                                 EXHIBIT

                                                                                                                                                         ~~
----------------------------------~----------------------------
SIGN'taURFUI.LHAME _              _,.tf.==:....LCJ-6--t~------                                          M~--9~-!2~,~-~IZL----~~~~~~~
                                                                                                                                     PH'fSICJANS trrATEAfENT ON OTHER SIDE
                               Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 16 of 27


                                                                            ATTENDING. PHYSICIAN'S STATEMENT                              ·---·
                                                                                       ACCJDENT OR SICKN~

       PATIENrS NAME ANDAOOAESS
                                                                        111 S\\')C:r f4iH ~kf                                                                  AGE

         Gle." ~.                      ~w'..t'f                         tVoc""        ~-ttl 'L A.oUtt, 1 ct u~                                                      so
       (1A)       Oflgnosls end CclnctiJMCondiliciM (lfL~ 01
                               de$erlbe llllllnlnd toeallon.


                                                                                                               )( .
        (B)        Is I:Onltion cUI to fltaY 01 slcMtas lilfelnO out of
                  pefeslrll ~                         I'Vflt'.-n           v..            D       No

      (2A)        When cid 8piPIIImS tifSt epp8lt 01 tiiCfdenl                            Date:                 ___:u_,J..a_
                  happen?
        (B)       When did ......... GOIIIUitt'OOtor dU
                  condiJan?
                                                                                          Oat8:                    ~~_il
       (C)        ..... ,......,..had    lhe181118
                 otalmlarconcllian?
                                             If "YftS" *ltwllllft end
                                                                           Yea            0       No           '11-
                 Mac:d)e



  l3AJ           Nalute
                 ,~,.,.,
                            of.._   oroblteMcalprooedure,l any
                                                                                 !JON~
       (B)      Clllllg8 to pdenllar IIIII piOCICMe, fnduding              0.~                                    _/~--
                 ~-
      (0)       1 pedbrmed In flolplfaf, otve name o1 h08pilll
                                                                                              .                                                         ~D
                                                                                                                  ~D

                                                                                                                                                  CHARGE PEa CAll
 (4)           GivedalesotOIIWr miCfCII ~                                                              Ollco            $ (..G1.f0
               IINIInd, If any                                                                         Home             $-
              ~a/JJIJ          ~),/,~            tt/1~1• ~                                             HIRpltal
                                                                                                       MISftVHolne
                                                                                                                        $-
                                                                                                                        $-
                                                                                                                                                         ~~
             ~IJ.') II~
             ici.CihJ
                               4:Jict ,, ~
                              '11'7/1~                                    chllrges:
                                                                                                       Total~           $   vt;'")-30                       w-r
 (5)           Whet Oilier seMcss, I any, cldyou pnMclt ot
               .....,.. pallenl? (llerniM. gl!q dales and fees)
                                                                                                                                    ...
                                                                                                                                                  .
                                     ,..-for                                                                                                                 _ _ } - - - 1 ._ _
(6)            .. pdant . . . . . ,             11111 CO!Idllion'l
               I "tti" gJtlt# dale ,._IIIVbs fllmllnlted                              J:t                       c
                                                                                                                  No        Date:


                                                                                                                                                      __:6_, del ld        To:
                                                                                                                            f'Rl&e~
(7A)          How ~ was or wll pdent beCOillllluoullly 1ot1111y
              disabled {ulllla 10 WOifO?

  (B)         How klnu was or wll patJenl be parlfaiJy dillbllld?
                                                                                                                        ....,~_!_).          ~~~                           To:



                                                                                                                                 From:                _t_l_                To:
                                                                                                               ~
  (C)         Was bauleCilfllinemlnllllleeMiy? 1f 'Yes" give                          Yea
              cfatiiS                                                                 0                                     __j___J._


(81           To ,our~ doesplllent huealhtt htellh                                    .                                ~~Ca,...a..
              i.-nee or llealtl plancawraget If "Yes'
                                                                                                               ~ M.w~t\0~ , ~1>...\1L ~\. >l.f
              llfelltlfy.



                                                                                      "           RI!MARICS
                                                                                                                       ~ -\4
                                                                                                                               .   21"~•'-~•~-o




                                     SIGPMTUIIE IATTENOINO

                                       ~\ .~'N.,.. .......
    Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 17 of 27


l:llotutions.
Program Administrators .
for National Urion Fire Insurance Company of PiHsburgh, PA
P. 0. Box2066
Jacksonvfle, FL 32203-2066

11/05fl012


GLEN NEWBY
717 SILVER HILL RD
N LlffiE ROCK. AR        72118-2655




    Claimant:
    Policy Number:
    Claim Number:

    Dear GLEN NEWBY,

    We have received and reviewed your claim. Mer careful conskieratlon we regret that we
    must decline benefits for the foJiowlng reason(s):
    Disability is not due to dismcmbennent or paralysis based on the attending physician's statement.


   If you have additional Information, or any of the above IS in error, you haw the right to appeal
   our decision.

   If you decide to appeal. you or an authorized representative must send written notice
   Identifying all Issues regarding the denial to the address at the top of this letter. Include any
   medical documentation or other evidence which supports your appeal and address the
   reasons listed above. Please send your information along with a copy of this letter to our
   address above. We will be glad to reconsider your documentation and our decfslon, and
   notify you via mail within 15 busJness days.
   Sincerely,
             .
   Claims Operations
   Please note, by pointing out the foregoing, National Union Fire Insurance Company of Piltsbwgh, PA
   does not waive, but specificaUy reserves any and all rights and defell88$ It may have under the policy
   and the applicable law.




                                                                                               EXHIBIT

                                                                                         i'!-
    Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 18 of 27


I(h ffJolutions.
Program Admlristrators
for National Union Fire Insurance Company of Pittsburgh. PA
p. 0. Box 2066
Jacksonvile, FL 32203-2066

1211112012


GLEN NEWBY
717 SILVER HILL AD
N LITTLE ROCK, AR 72118-2665




    Claimant:                  GLEN D. NEWBY
    Policy Number:             51646840
    Claim Number:              96021618


     Dear GLEN NEWBY,
     We have received and reviewed your claim. Alter careful constderaUon we~~ that we ~
     must decline benefits for the following reason(s):\:..1~ ~            rJ~~Y'/}     0

     You were not enrolled in the policy at date of your loss, 9125/09. Notes received        ind~
                                                                                             ongoing
     treatment for this diagnosis.                                                  67 t:VnA~. ~     ·
                                                                                     ~~~c{lDI~
     If you have additional Information, or any of the above is In error, you have the right to appeal      ,vn   .e::(tl
     our decision.                                                                                    ,.,u11114   a::t'~
     If you decide to appeal, you or an authorized representative must send written nolice
     identifying all Issues regarding the denial to the address at the top of this letter. Include any
                                                                                                            ~~
     medical documentation or other evlderice which supports your appeal and address the
     reasons listed above. Please send your Information along with a oopy of this ·letter to our
     address above. We wit be glad to reconsider your documentation and our decision. and
     notify you via mall within 15 business days.

     Sincerely,

     Clalm6 Operations
     Please note, by pointing out the foregoing, National Union Fire Insurance Company of Plttsbu!Qh, PA
     doeS not waive, but specifically reserves any and an rights and defenseS It may have under the polcy
     and the applicable law.
                                   Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 19 of 27

                                                                       AITENDING PHYSICIAN'S STATEMENT
                                                                                  ACCIDENT OR SICKNESS


 PATefrS;:AN~~
   } :.{!Jtf fj
                                 v
                                         ~     a e/1/L
                                                    -~
                                                                        !J,
                                                                                                         -                                                              AGE

                                                                                                                                                                              s-o
 (1A)        Diagnosis and Concurrent Conditions (If fradure or
             dislocation. desai~ naiUfe and location.)          ·
                                                                           b--J 2-~~ bt-t.                   5 ~~J'JF/'"5             I     ,-::4/4:1/~
      {B)    Is c:ondiliorl due to injuly or slckneA arising out of
             p;llient's employment?                If "Yes" explain    Yes            0       No             }4'                                                              t-/r}(l/_
 (2A)        When cld S)'lr¥>tllms first appear or accident
             happen?
                                                                                      Date:                    ---4..14121'~
      (B)    \Nhen did patient filll consult you for !his                             Date:                    _i!L_/.2J_UJJ--
             condillon?

      (C)    HaS pallenl ever had the same
             or similar oondltion?
                                       If '"'{f!!lf' state when and
                                                                       Yes            0       No
                                                                                                             ~
             describe
                                                                                  I                  /               A
                                                                                                                                                                .....
(3A)         Nature ot 5..-gical or cbstslricaJ procedure, if till'/         Lt--t. t-L-£6-:z.<--r-~~ _5r.---t~7
             (desaibe fully)

      (B)   Charge ID patilri for 1his proc:edure, inclucing           Dale performed;                             tJ.,A_{)_Z__d!Y)
            post:(IPeRIIMt care


  (C)       If pelformed in hospital, give name of hOspital
                                                                             (/;Jtlf!s-- Le/ /1,(1< -                                                      lnpafient    iY'
                                                                                                               Oulpelient   0
                                                                                                                                                     CHARGE PER CAll
(4)         Give dates of Other medical (11011-6Urgical)                                           Ollice                       s
            1reafmel1t. If any
                                                                          Ayfr                     Home
                                                                                                   Hospial
                                                                                                   NIIISing Home
                                                                                                                                $
                                                                                                                                $
                                                                                                                                $
                                                                                                   TOial (non-surgical)         $
                                                                       chatges:




                                                                                  ,
                                                                                          /
(5)         What olhei" services, if any, did you provide Of
            prescribe patient? (Itemize, giving dates and fees)               Aj1-
(6)         Is patient &till under yow care for this c:oncltion?
            If "oo" gMt elate your seNices tetminated
                                                                                                              No
                                                                                                              0
                                                                                                                                    Oats:
                                                                                                                                                                        __,__ __  /




(7A)        How long was or will patient be continuously 1Dtally
            disabled (unable to work)?
                                                                                                                                    &~~ ~3!J,2(t]                                      To:



  (B)       How long was or will patient be partially disabled?                                                                     1%..d'f!ie. _,_,_                                  To:


                                                                                                                                                       _ _1_ _, _
            was house confinement necessary?           If "'Yes" gM!                                                                         From:                                     To:
                                                                                                             Jt
  (C)                                                                             Yes                                               _ _,_ _1_ _
            dates                                                                 0

(8)         To your knowledge, does patient have other health
                                                                                  Yes
                                                                                                             ~
            insurance or healh plan coverage? If "Yes"
            Identify.                                                             0
                                                                                               REMARKS




                                                                                                                                                      TELEPHONE

                                                                                                                                                      (~        C).f;'l-/>77&
                                                                                                                                                     NCE


                                                                                                                                                           EXHIBIT

                                                                                                                                                     t _____:::ito~               ~   1.0. 1112002
                      Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 20 of 27


Progress Notes                                                                                         Printed On Jul16, 2013

              LOCAL TITLE: MD· CLINIC NOTE
             STANDARD TITLE: PHYSICIAN OUTPATIENT NOTE
             DATE OF NOTE: JUL 16, 2013@12:03     ENTRY DATE: JUL 16, 2013@12:04:02
                   AUTHOR: GOCIO,ALLAN C        EXP COSIGNER:
                  URGENCY:                             STATUS: COMPLETED

            Mr. Glen Newby has been unable to perform work activity of any kind since Feb.
            7, 2013 to the present date. Additional evaluation in in progress and additional
            healing must occur before his condition reaches maximal medical improvement.

            /es/ ALLAN C GOCIO
            MD NEUROSURGERY
            Signed: 07/16/2013 12:07

            Receipt Acknowledged By:
            07/16/2013 12:40         /es/ VICKI A PHILLIPS




PATIENT NAME AND ADDRESS CMechanlc:allmprlntlng, If •YIIIIeble)   VISTA Electronic Medical Documentati~o~n·••••••'
NEWBY,GLEN D
717 SILVER HILL RD
N LITTLE ROCK, ARKANSAS                   72118                   Printed at CENTRAL ARKANSAS HCS
                                                                                                      t_z______
                                                                                                           EXHIBIT



                                                                                                    ' -. . . . . . . . . . . .,Page1
                                       Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 21 of 27

  National Union Fire Insurance Company of Pittsburgh,                                                         PROOF OF LOSS
  Pa.
  Claims Department                                                                                            NAME OF GROUP:                               U.S~   Bancorp
  P. 0. Box 2066
 Jacksonville, FL 32203                                                                                        POLICY NUMBER:                              51646840
 Phone: 866-960-0n2 Fax: 904-421-5935


 INS~ FUUNNE(PlEASE PR~~
                                                          TEMPORARY TOTAL DISABILITY ACCIDENT CLAIM FORM
                                                                                                                                                 I
                                                           ,.,
                                                                                                                                                   CERTIFICATE NO. (F APPUCA81.E)           -
         "1"   L,.\.        ,..._,..t. ._.)                                                                                                          ~- I      <. ~1 ~ ~ tf o   ~ .tV\ wt   f
                                                                                                                                                                                            IJL/ (f
 STREET ADDRESS                                                                                            CITY                                                        STATE
      1J7 ). fv-L ....                 1-l· II                                                                 fJ L.·lf4          /!. .. ~I<                           _A ...
 DATEOFBIUH                                             HEIGKT AND WEIGHT                                  MARITAL STATU$                                              TEI.£pttONE

       /,-J&J..,GL                                        ~    'f'}               "ZA.id; p)                   f1~ t" y, -t ~i                                         'S~i I   771 C1}l. ~}
 OCCUPATION                    J                        DUTIES                                             MQN"Tlft.Y EARNINGS                                         WEEKI.yEARNINGS
   v n. ~ ¥- ,Lf;e-·
 (1)     Give ill delcrlpllan ctlrpy     ar.._                                           von ~~ .... ..r. "j    ~"'-1    /.. ~         ... .f-
                                                                                                                                                  ,._,_,
 (2AJ
         :.:--wt....--11
         tram   ""*"'
                    )IOU -


              ..-had-...
         . . . . )IOU
                             ...... s.Jiraring. . . .


                                         simillr
                                                        SICIOIESS

                                                         INJURY
                                                                          0
                                                                          11-
         --'lion. in tie~
                                                        YIIS               0        Candillon(s)

  (B)    If,... ........
                      - t i l tie anllian,
         - c t . - - . . and"""--
         -            fii!Aialing--.. hDOpUis           No                0         Data:
         and <:Inc:$.


(3A)     Give uact dllll ...... .._began, ... ......, occund.                                                             (A) Dale:
  (B)    - d i d you tnt_,. •llhrSiCian far lhis candlliDn?                                                               (B} Dille;
  (C)    IMion did you bemme lal8ly clsabled 1..-..10-'<)?                                                                (C) Dale:
  (0)    - - ) I O U able 10 again pe1arm pert rl'fOUI or;alplllionll G.olies?                                            (D) DIU:
  (E)
  (F)
         W.. -I'OU -
         lr stilliOIIIr dAillad. ...... do ,au apacl )lllUI' ......,.10
                                10 again perfarm 81 til 'fOUI1 01:a11M1ian111 clllles?
                                                                           ...,.....?
                                                                                                                          (E) Date:
                                                                                                                          (F)DIIIIt:

(.C)                                                                                                                                                                        FROM                 TO


(5A)



   (BI   GMt-. ldha and 1BiephDnl! .runber rl .......                                                                                                                       TELEPHONE
         r.nlly phpirian

(6)      ~Oilier KICidonl. ~ «cblltlilily ~do                               NAMES                                                                                           BENEFITS
         ,.,.,.,_., and.whll ahr Ulgooizalions "'.,.,.,_,._
         -      .,.;d )'<101 -....ay ""...,.._ « ;,y..y?

(7)      -'lllhlr ll*ic:alar ougicailreMnlollll8$ ~                         NAMES                                 ADDRESSES
         ...n..dcblngllepa115~ (GMt-. - t i l
         11-scrir;.lyand,_and~tilall-.g
         ~              .   alddinica.                         .
(8)      ..,_, addnlaes and ~~~~~~phone,...._,           til~               NNES                                  ADORESSESII'El.EPHONE              ~RS                                        TO
         and*'ll!hct~wilheacll?                                                                                    h:~v t,..,'(ff""f                 t1· • •
               . ._ ... {l'L:4./:;.,.j                                                                            f\ll..j( 7111 ~
                                                                                                                             A,·                       {c       'kt
I HeREBY CERllFY THAT TtE ABOVE INFORIIAllON IS TRUE AND CORRECT TO TJIE BEST OF MY KNOWI..EDGE AND BEUEF.


SIGH YOUR fULL NAME                A= r:?f .                                             AUTHORIZATION
                                                                                                            DATED:                ct- II-·
                                                                                                                                     I                 J
1. the undel$igned lllllhorize any hospital or other medic:ak:are inslilutian, phy$ician or oCher medical profeuional. pharmacy. instnnee support organization. governmental agency.
group policyholder. insurance company. association. employtir or benefit plan administrator 10 furnish 10 the lnswanc:eCompany named above or its representatives, any and all
information with respect to any injury or sickness suffered by, the mediclll history of, or any c:unsultation. prescription or 1re111tment provided to, the person WhOse delllth, injury.
sickness or loss is the basis of claim and copies of all of that person's hospital or medical recards. including infonnation relating to mental ilness and use of drugs and alcohol. to
determine eligibility lor benefit payments under the Pofq Number idel1tified above. I aulhorize lhe group pclicyholder, employer oc benefit plllln administrator to pnMde the
Insurance Comparty named above with financial and empiOyment-relaled Information. I undefsland that this aulhcrization is valid for the tenn of coverage of the Policy identified
above and that a copy of this authoriii:alion s/11111 be considered as valid as the original. I understand !hall or my IIIUihorized representaliYe may request a copy d this aulhorizalion.

I'or claimants not residing in California. New Yark, or Pennsylvania: Any person who knowingly prescnls a lldse or rnwdulenl claim for payment of a loss or benefit or
knowingly pRseniS fllise information in an application for insmancc is guilty of a .crime and may be subj«t to fPICS and confmcment in prison.



                                                                                                                        DATED:         <.f~      17 ... I J
                                                                                                                                                            PHYSICIAN'S STATEMENT ON OTHER SIDE


                                                                                                                                                                EXHIBIT

                                                                                                                                                     fB'
                                                                                                                                                 '---------""EMPDISirev I .0. 812002
                     Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 22 of 27




AIS   P•ope~ty   easualiy
                              March 1.1. 2013
12 Metro Tech Center
Brooklyn. NY 11201            Submitted via web portal:
-.aig.com                     Gomplaint.resoonses@arkansasg.gov
James Thomas
Analyst
718 250 1622Telephone
                              Ti.ora Davis
718 250 1779 Facsimile        The Attorney General: State of Arkansas
James.thomas1@AIG.com         323 Center Suite 1100
                              little Rock, AR-72201



                              Re:   Complainant:      Glen Deland Newby
                                    Insurer:          National Union Fire Insurance Company of
                                                      Pittsburgh, Pa. ("NUFFC")
                                    NAICNo.:         012-19445
                                    Policy No.:      9541790
                                    Customer No.:    5164684o
                                    Claim No.:       96021618
                                    Our File No.:    20130235
                                    Your File No.:   101128


                              National Union Fire Insurance Company of Pittsburgh, Pa. ("NUFIC") has
                              completed a review of the above-referenced complaint filed by Glen Newby
                              with the Attorney General office of State of Arkansas regarding coverage
                              under the Group Accident Insurance Program {"Programj underwritten by
                              NUFIC. LOTSolutions, Inc. ("LOTSj is the third party claims administrator
                              handling this claim on behalf of NUFIC. Mr. Newby alleges LOTS has
                              delayed processing his claim under this Program.

                              Mr. Newby's coverage initiated on May 18, 2011. The Program offers Mr.
                              Newby with 24 Hour coverage, and benefits for Accidental Dismemberment,
                              Total Temporacy Disability Accident ("TT'D), and Physician's Office VISit.
                              Mr. Newby tendered a 'ITD claim for his back injmy, which be alleges that
                              be sustained on June 19, 2012. Supporting documents were submitted on
                              September 21, 2012. After further review, additional records, such as the
                              incident report, details of the accident, letter from his physician, and a letter
                              from his employer were requested in order to support Mr. Newby's TID
                              claim. Following this request, on November 14, 2012, medical records were
                              submitted, which indicated that Mr. Newby's back injmy was a chronic
                              medical condition, present since September 25. 2009. On December 12,
                              2012, LOTS denied Mr. Newby's claim, since his injwy was prior to the
                              coverage effective date of May 18, 2011.

                              Subsequent to this denial, an appeal was submitted by Mr. Newby on
                              January 11, 2013. LOTS is currently reviewing this matter and have
                              requested additional information to verify the exact date of loss. Once these
                              records are reviewed, Mr. Newby will be notified of LOTS' decision.


                                                                                                          EXHIBIT


                                                                                                    19
Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 23 of 27




         Should you require anything further, please do not hesitate to mntact the


         Sincerely,
      James Thomas·~~
                                              __
         undersigned directly and reference our file number.

                              ,,......,....,..,
                      . .<'     U.:1111&11 IY7111~
         James Thomas
               Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 24 of 27


                                      ROSE lAW FIRM
                                      A   PROFES&ION.'IL   ASSOCIATION


                                               ATTOR.NEYS
WRITER'S TELEPHONE                                                               WRITEK'S ELECTRONIC MAIL
                                             120 East Fourth Street
                                             Little Rock, Arkansas
 501-377-0417                                      72201-2893                  kperkins@rosclawfirm.com
                                                501-375-9131
                                              501-375·1309 FAX
                                             www.roselawfirm.com
                                               June 20,2013


AIG Property Casualty
Attn: JmnesTho~,Anruy~
12 Metro Tech Center
Brooklyn, NY 11201
James. thomas! @aig.com

Claims Adminis1ration Department
LOTSolutions
P.O. Box. 2066
Jacksonville, FL 32203-2066

         Re:         Insured: Glen Deland Newby
                     Insurer: National Union Fire Insurance Company of Pittsburgh, PA
                     Policy No.: 9541790
                     Customer No.: 96021618

Dear Sir or Madam:

        I am contacting you on behalf of my client, Glen Deland Newby. Mr. Newby has
submitted a claim for benefits in relation to the referenced disability plan purchased from
National Union Fire Insurance Company of Pittsburgh, PA. Mr. Newby has submitted all of the
requested infonnation to LOTSolutions, Inc. ("LOTS"), the third party administrator, but has yet
to receive approval of his claim or any satisfactory answer as to why it was initially denied.

        Mr. Newby submitted a Total Temporary Disability ("TID") claim for a back injury
sustained on June 19, 2012. After receiving medical records and supporting documentation,
LOTS initially denied the claim, asserting that Mr. Newby had a chronic back condition that
predated his effective coverage date of May 18,2011. Mr. Newby submitted an appeal of the
decision on January 11,2013. In addition, Mr. Newby has obtained a statement from his
physician concerning the June 19, 2012 injury, and the physician states that Mr. Newby had
never had the same or a similar condition. Mr. Newby has called many, many times trying to
determine the status of this matter and cannot get an answer. Mr. Newby has been told orally
more than once that his claim is being denied because of a 2009 dismembennent claim.
Obviously, this answer does not make sense because Mr. Newby is not dismembered and did not
have the policy in 2009. Mr. Newby believes that he has submitted everything requested.


                                                                                                 EXHIBIT


                                                                                          I       lD
                Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 25 of 27



AIG Property Casualty
LOTSolutions
June 20, 2019
Page2


        The lengthy delays occurring are prejudicial to my client. My client bas been
unemployed for several months and is having to scrape up enough money to continue to pay the
premiums on this policy while these delays are occurring. One of your representatives has
suggested to Mr. Newby that your company delays resolution on purpose so that insureds will
run into problems with continuing to pay the premiums, and then the claims will be moot

       Mr. Newby has asked us to file a complaint against your company unless we can
immediately get this claim resolved favorably. If there are any outstanding document or
information requests, please let me know that as soon as possible. We will proceed with
preparing and filing a complaint if we do not hear from you by June 28, 2013.

            Please let me know if you have any questions concerning this matter.




K.BP/scs
cc:    Glen Newby




 289064-1
                Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 26 of 27




                 IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS


GLEN NEWBY                                                                              PLAINTIFF


v.                                       CASE N O . - - - - -


NATIONAL UNION FIRE INSURANCE COMPANY;
LOTS SOLUTIONS; and
AIG PROPERTY CASUALTY                                                               DEFENDANTS


                                  AFFIDAVIT OF GLEN NEWBY

           I, Glen Newby, hereby certify, under penalty of perjury:

           1.     My name is Glen Newby.

           2.     I am a resident of Pulaski County, Arkansas.

           3.     In May of2011, I entered into a contract for insurance with National Union Fire
Insurance Company.

           4.     Since that time, I have paid my monthly premiums on my policy.

           5.     Defendant has denied my claim for temporary total disability under the policy.

       6.      I spoke with two employees of Lots Solutions who informed me that Defendant
attempts to refuse payment of claims until insureds cease paying their premiums.

           7.     I certify under penalty of perjury that my foregoing statements are true and
correct.


           Dated this!]_ day of July, 2013.




                                                                                                 EXHIBrT

                                                                                         I II
           Case 4:13-cv-00474-JM Document 2 Filed 08/16/13 Page 27 of 27




 STATE OF ARKANSAS                         )

 COUNTYO;pu..Qa           st~              ~
         On this ~day of July, 2013 before me personally appeared Glen Newby, to me known
 to be the person described herein and who executed the foregoing instrument, and acknowledged
 that she executed the same knowingly and willingly and for the purposes therein contained.

        Witness my hand and Notarial seal the day and ye_ ·




 My Commission Expires:                            [Seal]

9,&(.e.
 /)
        .3t         ,lo;S
